    Case 2:10-md-02179-CJB-DPC Document 736-2 Filed 11/15/10 Page 1 of 1




                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF LOUISIANA




                                             )
                                             )
In re: Oil Spill by the Oil Rig DEEPWATER    )   MDL Docket No. 2179
HORIZON in the Gulf of Mexico on April       )
20, 2010                                     )   Section: J
                                             )
This Document Relates to: No. 10-1497,       )   Judge Barbier
No. 10-1630                                  )   Mag. Judge Shushan
                                             )
                                             )
                                             )
                                             )

                                          ORDER

       Before the Court is Federal Defendants’ Motion for Exception from Court’s Continuance

on Pending Motions. Having considered Federal Defendants’ motion, Plaintiffs’ response, and

the memoranda written in support of both, it is HEREBY,

       ORDERED that Federal Defendants’ request for exception is GRANTED.


New Orleans, Louisiana, this _______ day of November, 2010.



                                   ___________________________________
                                   United States District Judge
